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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS


AMERICAN ATHEISTS, INC.;
BETTY JO FERNAU;
CATHERINE SHOSHONE;
ROBERT BARRINGER; and
KAREN DEMPSEY,                                                         PLAINTIFFS

      v.                   Case No. 4:18-cv-00729-KGB

STANLEY JASON RAPERT, in his
individual and official capacity,                                      DEFENDANT




                          NOTICE OF APPEARANCE


To:   The Clerk of Court and all Parties of Record

      I am admitted or otherwise authorized to practice in this Court, and I appear

in this case as counsel for Defendant Stanley Jason Rapert, in his official capacity.

Date: October 4, 2018
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                                         Respectfully submitted,

                                         LESLIE RUTLEDGE
                                         Attorney General

                                         /s/ Dylan L. Jacobs
                                         Dylan L. Jacobs
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                                         Attorney for Defendants



                           CERTIFICATE OF SERVICE

      I, Dylan L. Jacobs, hereby certify that on October 4, 2018, I electronically

filed the foregoing with the Clerk of the Court using the CM/ECF system, which

shall send notification of the filing to any participants.


                                                /s/ Dylan L. Jacobs
                                                Dylan L. Jacobs




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